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FILED as

UNITED STATES DISTRICT COURT

 

 

 

SOUTHERN DISTRICT OF TEXAS: MAR 26 2019 :
MCALLEN DIVISION bavi | 2
avid J. Bradley, Clery
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ve § CRIMINAL NO. hi - 1 > - 52?
. | § -
RICHARD QUINTANILLA, §
7 | ! :
Defendant. §
SEALED INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

18 U.S.C. § 1349
(Conspiracy to Commit Honest Services Wire Fraud) |

At all times relevant to this Indictment:
Relevant Individuals and Entities

1. Defendant RICHARD QUINTANILLA was a businessman who lived and
worked in Weslaco, Texas. |

2. _Co-Conspirator A was a resident of Starr County, Texas.

3. Commissioner A was a resident.of Weslaco, Texas and an elected member of the
Weslaco City Commission.

4. Company A was an international engineering and construction company that
performed large-scale infrastructure projects for public and private clients.

5. Company B was an engineering company based in San Antonio, Texas. Person B
was the owner of Company B.

6. Company C was an engineering company based in McAllen, Texas.
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General Allegations

The Weslaco City Commission

7. . The Texas Constitution, the laws of the State of Texas, and the charter of the City
of Weslaco, established ethical standards of conduct for elected public officials, including Weslaco.
_ City Commissioners. These standards included an oath to faithfully execute the duties of the office

of Commissioner and to preserve, protect, and defend the Constitution and the laws of the United
States and the State of Texas. Accordingly, Weslaco City Commissioners owed a fiduciary duty
to the City of Weslaco, the Weslaco City Commission, and the people of the City of Weslaco...
8. As an official in the city government, Commissioner A owed a fiduciary duty to
the City of Weslaco and to its citizens to perform the duties and responsibilities of his office free.
from corrupt influence. As an elected official in the State of Texas, Commissioner A swore to
uphold the United States Constitution, the Texas Constitution, and the laws of the State of Texas
and to faithfully execute the duties of his office.

The Weslaco Water Treatment Facilities

 

9. In or about 2004, the Texas Commission on Environmental Quality (“TCEQ”)
notified the City of Weslaco that its water treatment facilities were in violation of Texas
environmental regulations. The city’s water treatment facilities included the Water Treatment
Plant (WTP), which processed the city’s potable water, and the North Wastewater Treatment Plant
(NWWYTP) and South Wastewater Treatment Plant (SWWTP). |

10. . In or about 2007, the commission voted to issue approximately $28 million in
municipal bonds to finance several infrastructure projects in the Weslaco area. The two largest
and costliest projects to be paid for by the bond funds were to rebuild the NWWTP and to perform |

| repairs to the: WTP.
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11. In or about 2008, the commission hired Company A to act as the construction -
manager for the infrastructure projects to be funded by the bond issuance. Under the contract,
Company A would effectively select the companies to perform the infrastructure work to be paid
for with the bond funds. |

| THE CONSPIRACY
12. From inor about August 2011 through in or about December 2016, in the Southern
District of Texas and elsewhere, the defendant, | |
RICHARD QUIN TANILLA,
Co-Conspirator A, and Commissioner A, did knowingly combine, conspire, confederate, and agree
with one another, and with others known and unknown to the Grand Jury, to devise and intend to |
devise a scheme and artifice to defraud and to deprive, by means of material false and fraudulent .
‘pretenses, representations, and promises, and to transmit and cause to be transmitted by means of
wire communication in interstate commerce, any writings, signs, signals, pictures, and sounds for
the purpose of executing the scheme and artifice to defraud and deprive, that is to deprive the City
of Weslaco, the Weslaco City Commission, and the citizens of Weslaco of their right to the honest
services of Commissioner A through bribery, in violation of 18 U.S.C. §§ 1343 and 1346.
THE SCHEME TO DEFRAUD | |
| 13. From in or about August 201 1 through in or about December 2016, in the Southern
District of Texas and elsewhere, the defendant, RICHARD QUINTANILLA, Co-Conspirator A,
Commissioner A, and others known: and unknown to the Grand Jury, devised and intended: to
devise a scheme and artifice to defraud and to deprive the City of Weslaco, the Weslaco City
Commission, and the citizens of Weslaco of their intangible right to the honest services of |

Commissioner A, an elected official, through bribery.
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PURPOSE OF THE CONSPIRACY
14. The purposes of the conspiracy included, but were not limited to, the following:

a. For RICHARD QUINTANILLA to enrich himself by keeping a portion
of the bribe funds paid to him by Co-Conspirator A and then pay the remainder of the bribe
funds to Commissioner A;

b. For Commissioner A to enrich himself by accepting bribes in exchange for
using his official position as a Weslaco City Commissioner to take official acts to benefit
and help Company A, Company B, and Company C obtain millions of dollars in contracts
from the City of Weslaco; and |

Cc. For Co-Conspirator A to enrich himself by keeping a portion of the bribe —
funds paid by Company B and Company C.

MANNER AND MEANS OF THE CONSPIRACY
15. The manner and means by which the defendants carried out the conspiracy
included, but were not limited to, the following: |

a. RICHARD QUINTANILLA and Co-Conspirator A corruptly gave,
offered, and promised things of value to Commissioner A, including tens of thousands of
dollars in cash, in exchange for specific official action favorable to Company A, Company
B, and Company C, including votes authorizing multi-million dollar contracts for water
treatment facilities in the City of Weslaco.

b. RICHARD QUINTAN ILLA, Co-Conspirator A, Commissioner A, and
other co-conspirators met at various locations in the Southern District of Texas and
elsewhere, to diseuss the official action that Commissioner A should take to benefit

Company A, Company B, and Company C, and to discuss the payment of bribes.
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C. In order to conceal the scheme, RICHARD QUINTANILLA, Co-
Conspirator A, and Commissioner-A took steps to anonymously funnel the bribe payments
to Commissioner A in a manner to avoid detection that the payments came from Company
B and Company C, including the following: |

i. Co-Conspirator A received payments from Company B and.

Company C, as well as payments from Company A that were passed through

Company B and Company C, for the purpose of paying bribes to Commissioner A,

disguised as consulting fees due to Co-Conspirator A.

Ii. - From in or about August 2011 to in or about October 2014, Co-

Conspirator A wrote a total of approximately $85,950 in checks to RICHARD

QUINTANILLA drawn on Co-Conspirator A’s accounts at Lone Star National

Bank. | |

iti. RICHARD QUINTANILLA converted the checks from Co-

Conspirator A to cash at Lone Star National Bank and shared approximately half

of the cash with Commissioner A.

d. Commissioner A cast votes, at the direction of Co-Conspirator A,
RICHARD QUINTANILLA, and their co-conspirators, to award contracts and payments
to Company A, Company B, and Company C, or to benefit Company A, Company B, and |
Company C in the execution and administration of their contracts with the city. |

e. In or about 2016, Co-Conspirator A, RICHARD QUINTANILLA, and
their co-conspirators provided Commissioner A with questions to ask of other city

commissioners and city officials, and which were intended to benefit Company B, during
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a dispute between the City of Weslaco and Company B over the City of Weslaco’s refusal
to pay Company B’s invoices for the WTP. |
f. RICHARD QUINTAN ILLA, Co-Conspirator A, Commissioner A, and
their co-conspirators used wire communications in interstate commerce, such as mobile
messaging applications, email, and interstate bank transfers, in furtherance of the scheme
to defraud.
OVERT ACTS _

16. In furtherance of the conspiracy and in order to accomplish its objects, RICHARD
QUINTANILLA, Co-Conspirator A, Commissioner A and their co-conspirators committed the
following overt acts, among others, in the Southern District of Texas and elsewhere:

17. On or about August 16, 2011, Commissioner A voted to declare that the WTP was
exceeding capacity and failing to meet public water demand, thereby creating an imminent threat
to public health and safety. This declaration allowed the commission to bypass ordinary bidding

and qualification procedures to move forward with construction to address violations issued by
TCEQ.
| 18. On or about September 8, 2011, Commissioner A voted in favor ofa motion for the

. city manager to negotiate a contract with Company B for the design of an expansion to the WTP
and associated proj ects. - |
19. On or about September 8, 201 1, Commissioner A voted to authorize the city
manager to negotiate a preconstruction services contract with Company A for the WTP.

20. On or about October 6, 2011, Commissioner A voted to approve a professional

services agreement with Company B for the design of the WTP and a professional services

agreement with Company A for the pre-construction services for the WTP.
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se On or about March 27, 2012, Commissioner A voted to authorize the mayor to .
execute a contract, valued at approximately $38.5 million, with Company A for the expansion of
the WTP and to authorize city staff to amend the city budget to accommodate the $38.5 million
contract with Company A. |

22. . On or about June 5, 2012, Commissioner A voted to approve the City of Weslaco’s
entering into a professional services agreement with Company C.

23. On or about July 16, 2013, Commissioner A voted to amend the city’s contract with
Company B to authorize Company B to prep are a preliminary engineering report for repairs to the
SWWITP. |

. 04, | From in or about September 15, 2011 to in or about October 22, 2014, Co-
Conspirator A wrote approximately 41 checks drawn on Lone Star National Bank Acct. Nos.
RHEEOZOZ, F*EKSOGO, and ****9214 to RICHARD QUINTANILLA, in the amount of
approximately $500 to approximately $5,000 each, for a total of $85,950, so that RICHARD
QUINTANILLA could make bribe payments to Commissioner A, RICHARD QUINTANILLA
converted these checks to cash at a Lone Star National Bank branch.

© 25. “In or about February 2016, Co-Conspirator A sent to RICHARD
QUINTANILLA, via electronic messages over a cellular telephone, questions that Co-
Conspirator A wanted Commissioner A to ask in upcoming city commission meetings. These
' questions were crafted to benefit Company B in its attempts to recover payments for the WTP
from the City of Weslaco, after the city stopped paying Company B. °

All in violation of Title 18, United States Code, Sections 1343, 1346, and 1349.
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26.

27:

COUNTS TWO to SEVEN

18 U.S.C. §§ 1343, 1346

(Honest Services Wire Fraud)

Paragraphs 1-25 are incorporated by reference as though fully set forth herein.

' in the Southern District of Texas and elsewhere, the defendant,

Co-Conspirator A, Commissioner A, and others known and unknown to the grand jury, devised

RICHARD QUINTANILLA,

' From in or about August 2011 and continuing through in or about December 2016,

and intended to devise a scheme and artifice to defraud the City of Weslaco, the Weslaco City

Commission, and the citizens of Weslaco of their intangible right to the honest services of

Commissioner A through bribery; to wit, on or about the dates set forth below, in the Southern

District of Texas and elsewhere, the defendants, for the purpose of executing and attempting to

execute the scheme and artifice to defraud and deprive, transmitted and caused to be transmitted

by means of wire communications in interstate and foreign commerce the following writings,

Signs, signals, pictures and sounds:

 

 

 

 

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COUNT DATE _ NATURE OF WIRE

2 April 25, 2014 Email from Person B to an employee of the City of
Weslaco regarding amendments to the WTP.

3 May 18, 2015 Email from Co-Conspirator A to Person B regarding

argument to make to the City as to the benefits of the
“SWWTP.

4 July 6, 2015 Email from Co-Conspirator A to Person B regarding
arguments to make to the City as to the benefits of the
WTP.

5 September 2, 2015 | Email from employee of Company B to an employee of
the City of Weslaco and Person B submitting a monthly
status report on the WTP.

 

 

 
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6 October 5, 2015

 

 

 

 

Email from employee of Company B to an employee of
the City of Weslaco and Person B submitting a monthly
status report on the WTP.

7 December 21, 2015 | Email from employee of Company B to an employee of

the City of Weslaco and Person B submitting invoices for
work conducted on the WTP.

 

All in violation of Title 18 United States Code, Sections 1343, 1346, and 2.

COUNT EIGHT

~ 18 U.S.C. § 666(a)(2)

(Federal Program Bribery)

28. Paragraphs 1-25 of this Indictment are re-alleged as if fully set forth herein.

' 29. From in or about August 2011, up to and including in or about October 2014, in the

Southern District of Texas and elsewhere within the jurisdiction of the court, the defendant,

RICHARD QUINTANILLA,

did corruptly give, offer, or agree to give a thing of value to any person intending to influence and

reward an agent of the City of Weslaco, a local government that received benefits in excess of

$10,000 pursuant to a Federal program involving a grant, contract, subsidy, loan guarantee, and

other forms of Federal assistance in 2014, in connection with any business, transaction, or series

of transactions of such State. government and agency involving something of value of $5,000 or

more: namely, the defendant gave, offered, and agreed to give cash to Commissioner A, a public

official of the City of Weslaco, intending to influence and reward Commissioner A in connection |

with the contracts for the construction and rehabilitation of the city’s water treatment facilities.

All in violation of Title 18, United States Code, Sections 666(a)(2) and 2.

 
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COUNT NINE
- 18 U.S.C. § 1956(h)
(Conspiracy to Launder Monetary Instruments)

30. Paragraphs 1-25 of this Indictment are re-alleged as if fully set forth herein.

31. | From in or about August 2011 and continuing through in or about December 2016,
in the Southern District of Texas and elsewhere, the defendant, |

RICHARD QUINTANILLA,
Co-Conspirator A, and Commissioner A did knowingly combine, conspire, and agree with.each
other and with other persons known and unknown to the grand jury to commit offenses against the
United States in violation of Title 18, United States Code, Section 1956(a)(1)(B)@), to wit: to
knowingly conduct and attempt to conduct a financial transaction which in fact involved the
proceeds of specified unlawful activity, that is, bribery of a public official, knowing that the
transaction was designed in whole or in part to promote specified unlawful activity and conceal
and disguise the.nature, location, source, ownership, and control of the proceeds of specified
unlawful activity.
| All in violation of Title 18, United States Code, Sections 1956(h).
| COUNTS TEN to SEVENTEEN
18 U.S.C. § 1956(a)
(Money Laundering)

32. Paragraphs 1-25 of this Indictment are re-alleged as if fully set forth herein.

33, On or about the dates listed below, in the Southern District of Texas and elsewhere,
the defendant, |

RICHARD QUINTANILLA,

knowing that the property involved in the financial transactions listed below represented the

proceeds of some form of unlawful activity, that is, bribery of a public official, knowingly and

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willfully conducted and caused to be conducted the financial transactions designed in whole or in

part to promote specified unlawful activity and conceal and disguise the nature, location, source,

ownership, and control of the proceeds of specified unlawful activity, with each transaction

- affecting interstate commerce, in that the defendant withdrew funds from the bank account at the

financial institutions identified below:

 

Count

~ Date
(on or about)

Financial Transaction

Total
Amount of.
Transaction

 

10

April 16, 2014

Conversion of check #1703, drawn on Lone |
Star National Bank Acct. No. ****9303, made
out to RICHARD QUINTANILLA, to cash
at Lone Star National Bank.

$2,000

 

“1

“May 8, 2014

Conversion of check #1590, drawn on Lone
Star National Bank Acct. No. ****9303, made
out to RICHARD QUINTANILLA, to cash
at Lone Star National Bank.

$2,000

 

12 .

June 16, 2014

Conversion of check #1544, drawn on Lone
Star National Bank Acct. No. ****9303, made
out to RICHARD QUINTANILLA, to cash
at Lone Star National Bank. .

$2,000

 

13

~ July 31,.2014

Conversion of check #1631, drawn on Lone

Star National Bank Acct. No. ****9303, made

out to RICHARD QUINTANILLA, to cash .
at Lone Star National Bank.

$2,000

 

14

' August 9, 2014

Conversion of check #1636, drawn on Lone
Star National Bank Acct. No. ****9303, made
out to RICHARD QUINTANILLA, to cash
at Lone Star National Bank.

$5,000

 

15

August 18, 2014

Conversion of check #1642, drawn on Lone
Star National Bank Acct. No. ****9303, made
out to RICHARD QUINTANILLA, to cash
at Lone Star National Bank.

$2,000

 

‘16

 

 

September 5, 2014

 

Conversion of check #1634, drawn on Lone
Star National Bank Acct. No. ****9303, made

 

$5,000

 

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out to RICHARD QUINTANILLA, to cash
at Lone Star National Bank.

 

Conversion of check #1739, drawn on Lone | $2,000

| Star National Bank Acct. No. ****9303, made
17 . October 22, 2014 | out to RICHARD QUINTANILLA, to cash
at Lone Star National Bank.

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All in violation of Title 18, United States Code, Section 1956(a)
COUNT EIGHTEEN —

18 U.S.C. § 1952
(Travel Act)

34. . Paragraphs 1-25 of this Indictment are re-alleged as if fully set forth herein.
35... Onor about February 2, 2016, in the Southern District of Texas and elsewhere, the
‘ . .
defendant,
RICHARD QUINTANILLA, |
knowingly and willfully did use and cause to be used a facility in interstate and foreign commerce,
| namely a telephone and a wire and electronic communication, with the intent to promote, manage,
establish, carry on, and facilitate the promotion, management, establishment, and carrying on of
an unlawful activity, namely bribery, contrary to Article XVI, § 41 of the Texas Constitution and
- Texas Penal Code § 36.02, and thereafter performed and attempted to perform an act to promote,
manage, establish and carry on, and to facilitate the promotion, management, establishment and

carrying on of the above unlawful activity.

All in violation of Title 18, United States Code, Section 1952(a)(3).

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NOTICE OF CRIMINAL FORFEITURE -
18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)

1. Pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United

States Code, Section 2461(c), the United States gives notice to the defendant, |
RICHARD QUINTANILLA,

that upon conviction of an offense in violation of Title 18, United States Code, Sections 1343,
1349, 666, 1956, and 1952, as charged in Counts | through 18 of this Indictment, all property, real
or personal, which constitutes or is derived from proceeds traceable to such offense, is subject to
forfeiture.

| Property Subject to Forfeiture

The property subj ect to forfeiture is approximately $85,95 0. In the event that a condition
listed in Title 21, United States Code, Section 853 exists, the United States will seek to forfeit any
other property of the defendant in substitution up to the total value of the property subject to
forfeiture. The United States may seek the imposition of a money judgment.

A TRUE BILL:

FOREPERSON OF THE GRAND JURY

     

 

 

    
    

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